Case 2:22-cv-00223-Z             Document 216             Filed 01/16/25   Page 1 of 2     PageID 12231


                               UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  AMARILLO DIVISION


    Alliance for Hippocratic Medicine, et al.,

                                 Plaintiffs,

            and

    State of Missouri, et al.,

                                 Intervenor-Plaintiffs,              Case No. 2:22-cv-00223-Z

            v.

    U.S. Food and Drug Administration, et al.,

                                 Defendants,

            and

    Danco Laboratories, LLC,

                            Intervenor-Defendant.

                                 MOTION TO WITHDRAW APPEARANCE
                                         OF KATE TALMOR

            Pursuant to Local Rules 7.1 and 83.12(a) of the United States District Court for the

    Northern District of Texas, the undersigned counsel for Defendants hereby moves to withdraw

    the appearance of Kate Talmor as counsel in the above-styled case.

            Effective tomorrow, January 17, 2025, the undersigned will no longer be employed by

    the U.S. Department of Justice. In support of this motion, the undersigned represents that

    Defendants are currently and will continue to be represented by the following counsel of record:




                                          DANIEL SCHWEI
                                          U.S. Department of Justice
                                          Civil Division, Federal Programs Branch
Case 2:22-cv-00223-Z         Document 216          Filed 01/16/25        Page 2 of 2        PageID 12232


                                     1100 L St., NW
                                     Washington, DC 20005

                                     NOAH T. KATZEN
                                     Civil Division, Consumer Protection Branch
                                     450 5th St., NW
                                     Washington, DC 20530

            WHEREFORE, the undersigned respectfully requests that the Court grant the withdrawal

    of the appearance of Kate Talmor as counsel for Defendants.


    January 17, 2025                         Respectfully submitted,


                                             /s/ Kate Talmor
                                             Kate Talmor
                                             Senior Counsel
                                             U.S. Department of Justice
                                             Civil Division, Federal Programs Branch
                                             1100 L St. NW
                                             Washington, DC 20005



                                 CERTIFICATE OF CONFERENCE


            I certify that counsel for Defendants conferred with counsel for all parties by email

    regarding this motion. Counsel are unopposed to this motion.


                                                              /s/ Kate Talmor_______
